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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


  CAREY BRENT ALLEN                             )              JURY TRIAL DEMANDED
            Plaintiff,                          )
    v.                                          )   Case No. 1:20-cv-248-RLY-MPB
  FORUM CREDIT UNION, et al.,                   )
            Defendants.                         )
                                                )


                                               ORDER


           THIS CAUSE COMING ON TO BE HEARD on Motion of Defendant, FORUM

  CREDIT UNION, due notice having been given and the Court being fully advised in the premises,

           IT IS HEREBY ORDERRED THAT Defendant, FORUM CREDIT UNION, be and is

  hereby granted leave to file its correct reply brief instanter, and also given leave to withdraw the

  reply brief filed on April 7, 2020.




  Dated:                                        ________________________________________
                                                JUDGE
